                                     IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF MARYLAND
                  RYAN DILLON-CAPPS
                                                                       Civil Action

                                            Plaintiff,                 No. 1:24-CV-3744
                  vs.

                  OHANA GROWTH PARTNERS, LLC et al                     Hon. Judge Hurson


                                          Defendants


                     MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S TEMPORARY RESTRAINING
                                    ORDER AND PRELIMINARY INJUNCTION

                 COMES NOW, Plaintiff Ryan Dillon-Capps, Propria Persona, and submits this Memorandum

                 of Law in support of his Emergency Motion for a Temporary Restraining Order and

                 Preliminary Injunction, pursuant to Rule 65 of the Federal Rules of Civil Procedure.

                                                         I INTRODUCTION
                 1      Plaintiff seeks an Emergency Temporary Restraining Order ("TRO") and Preliminary

                 Injunction to prevent immediate and irreparable harm caused by Defendants’ wrongful

                 termination, unpaid wages, and retaliatory actions. Due to Defendants’ conduct:

                        1.     Plaintiff has no income, no available credit, and is unable to pay for food,

                        rent, or medical expenses.

                        2.     Plaintiff’s credit score has collapsed from 746 (Equifax) in June 2024 to 389

                        as of February 6, 2025, making it impossible to secure financial assistance (ECF 16-

                        7, at 132-198).

                        3.     Plaintiff has lost essential medical benefits, endangering his health.




             Memorandum of Law in Support of Plaintiff’s Temporary Restraining Order and Preliminary Injunction
.   2025-02-06                                              Page # 1 of 7                                         .
                 2      Without immediate relief, Plaintiff will suffer irreparable harm, including loss of

                 essential resources, worsening health conditions, and financial collapse that cannot be

                 remedied by future monetary damages alone.

                 3      Plaintiff satisfies all legal requirements for emergency injunctive relief under Winter v.

                 Nat. Res. Def. Council, Inc., 555 U.S. 7 (2008).

                 4      Accordingly, Plaintiff respectfully requests that this Court issue a Temporary

                 Restraining Order and Preliminary Injunction:

                     1. Reinstating Plaintiff to active payroll at the post-2024 raise salary level;

                     2. Restoring all employment benefits, including insurance and 401(k) contributions;

                     3. Providing back pay and stopping further financial harm.

                                        II LEGAL STANDARD FOR INJUNCTIVE RELIEF
                 5      A TRO or Preliminary Injunction is an extraordinary remedy requiring the Plaintiff

                 to demonstrate:

                        1.      A likelihood of success on the merits;

                        2.      Irreparable harm in the absence of relief;

                        3.      That the balance of hardships favors Plaintiff; and

                        4.      That an injunction serves the public interest. (Winter v. Nat. Res. Def. Council,

                        Inc., 555 U.S. 7, 20 (2008)).

                 6      Plaintiff meets all four elements, justifying immediate injunctive relief.

                 7      Additionally, under Rule 65(b) of the Federal Rules of Civil Procedure, a TRO may be

                 granted without notice if the moving party demonstrates immediate and irreparable harm

                 before the adverse party can be heard.




             Memorandum of Law in Support of Plaintiff’s Temporary Restraining Order and Preliminary Injunction
.   2025-02-06                                                Page # 2 of 7                                          .
                                  III PLAINTIFF IS LIKELY TO SUCCEED ON THE MERITS
                              A Defendants Violated the Family and Medical Leave Act (FMLA)

                 8      Under 29 U.S.C. § 2615(a)(1), it is unlawful for an employer to interfere with, restrain,

                 or deny an employee’s FMLA rights.

                        1.     Plaintiff lawfully requested FMLA leave but was wrongfully suspended and

                        terminated in retaliation for exercising his rights.

                        2.     Defendants used coercive legal tactics to weaponize the legal process and

                        prevented Plaintiff from enforcing his FMLA rights, including wrongful legal actions

                        and financial retaliation.

                        3.     Courts regularly grant injunctive relief in FMLA retaliation cases. See

                        Vannoy v. Fed. Reserve Bank of Richmond, 827 F.3d 296, 304 (4th Cir. 2016)

                        (termination after an FMLA request is strong evidence of retaliation).

                        4.     Courts have held that FMLA retaliation claims warrant injunctive relief where

                        employees suffer lost wages and irreparable harm (See Batson v. Live Nation

                        Entertainment, Inc., 746 F.3d 827 (7th Cir. 2014)).

                 9      Thus, Plaintiff is likely to prevail on his FMLA interference and retaliation claims.


                               B Defendants Violated the Americans with Disabilities Act (ADA)

                 10     Under 42 U.S.C. § 12112(b)(5)(A), employers must provide reasonable

                 accommodations for employees with disabilities and cannot terminate an employee due to their

                 medical condition.

                        1.     Plaintiff suffered from severe medical impairments, but was denied

                        accommodations, suspended without pay, and then terminated by the Defendants.




             Memorandum of Law in Support of Plaintiff’s Temporary Restraining Order and Preliminary Injunction
.   2025-02-06                                              Page # 3 of 7                                           .
                       Defendants’ actions exacerbated Plaintiff’s condition, causing further harm. Plaintiff

                       now suffers from malignant catatonia and dissociative amnesia. See ECF 7-1, at 1-9.

                       2.      Federal courts have found ADA violations sufficient grounds for injunctive

                       relief, particularly where the employer's actions exacerbate an employee’s medical

                       condition (See EEOC v. GMRI, Inc., 221 F. Supp. 3d 1314 (M.D. Fla. 2016)). (ADA

                       violations warrant emergency injunctive relief).

                 11    Thus, Plaintiff is likely to prevail on his ADA discrimination and failure-to-

                 accommodate claims.


                            C Plaintiff Was Wrongfully Terminated and Denied Earned Compensation

                       1.      Plaintiff is owed unpaid wages, bonuses, and severance.

                       2.      Federal courts regularly order preliminary injunctive relief when an employer’s

                       wrongful termination causes financial ruin (See Ferrero v. Assoc. Materials Inc., 923

                       F.2d 1441 (11th Cir. 1991)).

                       3.      Under Md. Code, Lab. & Empl. § 3-507.2(b), an employer who willfully

                       withholds wages may be liable for up to three times the unpaid amount.

                               3.1    Plaintiff is owed at least $127,003.44 in unpaid wages and benefits

                               (ECF 16-2, at 183-184).

                               3.2    Defendants’ bad-faith refusal to pay justifies treble damages.

                       4.      Maryland courts allow injunctive relief in wage cases. See Adams v. Citicorp

                       Credit Servs., Inc., 93 F. App’x 515, 517 (4th Cir. 2004) (withholding wages in bad

                       faith justifies treble damages).

                 12    Thus, Plaintiff is likely to prevail on wrongful termination and unpaid wages claims.




             Memorandum of Law in Support of Plaintiff’s Temporary Restraining Order and Preliminary Injunction
.   2025-02-06                                              Page # 4 of 7                                         .
                                IV PLAINTIFF WILL SUFFER IRREPARABLE HARM WITHOUT RELIEF
                 13        Plaintiff has no financial resources left, and his situation cannot wait for a final

                 ruling:

                           1.      TransUnion credit score has dropped to 389 as of February 6, 2025.

                           2.      Chase credit card account closed, and Venmo credit reduced by two-thirds.

                           3.      Bank of America account overdrawn and facing closure.

                           4.      Unable to pay for essential services, food, or transportation.

                 14        Plaintiff has suffered severe financial collapse, meeting the irreparable harm

                 standard:

                           1.      Financial ruin justifies emergency injunctive relief. Courts recognize that

                           extreme financial distress constitutes irreparable harm. (Doran v. Salem Inn, Inc.,

                           422 U.S. 922, 932 (1975)).

                           2.      Loss of medical benefits constitutes irreparable harm. Courts have found that

                           losing healthcare access causes irreparable harm. (Harris v. Blue Cross Blue Shield of

                           Mo., 995 F.2d 877, 879 (8th Cir. 1993)).

                           3.      Delay would cause irreversible harm. Waiting for final judgment would

                           destroy Plaintiff’s financial stability, making later relief meaningless. (Holt v. Cont’l

                           Grp., Inc., 708 F.2d 87, 90-91 (2d Cir. 1983)).

                                      V THE BALANCE OF HARDSHIPS FAVORS PLAINTIFF
                           1.      Defendants face no hardship in complying with the injunction, as they are

                           merely being required to pay wages and benefits that are already owed.

                           2.      Plaintiff, on the other hand, faces total financial ruin and worsening medical

                           conditions.




             Memorandum of Law in Support of Plaintiff’s Temporary Restraining Order and Preliminary Injunction
.   2025-02-06                                                  Page # 5 of 7                                          .
                        3.      Courts have repeatedly ruled that financial ruin and medical crises outweigh

                        any inconvenience to an employer (See EEOC v. Anchor Hocking Corp., 666 F.2d 1037

                        (6th Cir. 1981)).

                        4.      Thus, the balance of hardships overwhelmingly favors Plaintiff. Courts have

                        held that when the hardship on the plaintiff outweighs any inconvenience to the

                        defendant, injunctive relief is appropriate. Courts prioritize employee hardship over

                        employer inconvenience. See Blackwelder Furniture Co. v. Seilig Mfg. Co., 550 F.2d

                        189, 196 (4th Cir. 1977). (holding that balance of hardships is the 'most important factor'

                        in granting preliminary injunctive relief).

                                   VI THE INJUNCTION SERVES THE PUBLIC INTEREST
                        1.      FMLA and ADA laws exist to prevent employer retaliation and ensure employees

                        have access to wages, medical leave, and workplace protections.

                        2.      Denying relief would encourage corporate misconduct, setting a dangerous

                        precedent that allows employers to weaponize financial instability against former

                        employees.

                 15     Courts recognize that enforcing labor protections is in the public interest. See Pashby v.

                 Delia, 709 F.3d 307 (4th Cir. 2013).

                                                        VII CONCLUSION

                 16     Plaintiff has met all legal criteria for emergency injunctive relief and faces imminent,

                 irreparable harm if relief is not granted. Plaintiff has demonstrated:

                 ‫ ط‬A strong likelihood of success on FMLA, ADA, and wage claims.

                 ‫ ط‬Immediate and irreparable harm absent relief.




             Memorandum of Law in Support of Plaintiff’s Temporary Restraining Order and Preliminary Injunction
.   2025-02-06                                               Page # 6 of 7                                            .
                 ‫ ط‬That the balance of hardships strongly favors Plaintiff.

                 ‫ ط‬That granting relief serves the public interest.


                 17     Accordingly, Plaintiff respectfully requests this Court to issue a Temporary Restraining

                 Order and Preliminary Injunction as detailed in his accompanying motion.




             Memorandum of Law in Support of Plaintiff’s Temporary Restraining Order and Preliminary Injunction
.   2025-02-06                                              Page # 7 of 7                                          .
